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                                                U.S. Department of Justice
                                                Civil Division, Appellate Staff
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                                                Washington, DC 20530

                                                                      Tel: (202) 353-0213

                                                February 10, 2023

VIA CM/ECF

Lyle W. Cayce, Clerk of Court
U.S. Court of Appeals for the Fifth Circuit
Office Of the Clerk
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130

      RE:    Louisiana v. Centers for Disease Control & Prevention, No. 22-30303 (5th Cir.)

Dear Mr. Cayce:

      The government respectfully submits this response to the States’ letter

regarding the government’s brief in Arizona v. Mayorkas, No. 22-592 (S. Ct.).

      As the government’s supplemental brief explained, if the public health

emergency declaration regarding COVID-19 expires on May 11, the currently

operative Title 42 order would end by its terms and this case would become moot.

The government’s brief in Arizona v. Mayorkas explained (at 12) that the same result

would occur in Huisha-Huisha, and that, if “the underlying case” becomes “moot,” the

Supreme Court should resolve the intervention dispute by applying the Munsingwear

doctrine and vacating the D.C. Circuit’s order denying intervention. The

government’s representations regarding the possibility of mootness have been the
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same in each court, and those are the “recent developments” that the government’s

supplemental brief said (at 9) the Supreme Court might consider.

      The States also assert that expiration of the public health emergency declaration

would, in their view, likely violate the Administrative Procedure Act. But the States

do not contest that this case and Huisha-Huisha would become moot upon the proper

expiration of that declaration (which has numerous legal effects separate from any

effect on this case). And the States have conceded that when an action “expire[s]

automatically,” “no notice-and-comment compliance would be required.” States’ Br.

73-74. Any different arguments are premature and do not make it improper for the

government to suggest that abeyance is appropriate pending possible mootness.


                                        Respectfully Submitted,

                                        s/ Sharon Swingle
                                        Sharon Swingle
                                        U.S. Department of Justice
                                        Appellate Staff, Civil Division

cc (via CM/ECF): Counsel of Record




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                      CERTIFICATE OF COMPLIANCE

      This letter complies with the word count limitation of Fed. R. App. 28(j), as its

body contains 236 words as automatically totaled by Microsoft Word.

                                                 s/ Sharon Swingle
                                                SHARON SWINGLE




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